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 6

 7                                 UNITED STATES DISTRICT COURT

 8                    IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
                                                      )   Case No.: Cr.S-12-0238-MCE
10   United States of America,                        )
                                                      )
11                    Plaintiff,                      )   STIPULATION TO CONTINUE
                                                      )   STATUS CONFERENCE
12          vs.                                       )
                                                      )
13   Eric Johnston,                                   )
                                                          DATE: December 12, 2013
                                                      )
14                    Defendant                       )   TIME: 9:00 a.m.
                                                      )   JUDGE: Hon. Morrison E. England, Jr.
15                                                    )
                                                      )
16

17

18          The government and counsel for Eric Johnston are in the final stage of ongoing

19   negotiations to settle the case on a global basis along with the Sacramento County District

20   Attorney’s office. All parties need a bit more time to iron out final details. Therefore, it is

21   requested that the Status Conference set for December 12, 2013 at 9:00 a.m. be continued to

22   January 9, 2014 at 9:00 a.m.. I have spoken to AUSA Kyle Reardon who agrees to this request

23   and further agrees that I may sign his name to it.

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 1                                           STIPULATION

 2          Plaintiff, United States, and Defendant, Eric Johnston, through their undersigned counsel,

 3   hereby stipulate and agree that the Court may re-set the date for the Status Conference to

 4   January 9, 2014 at 9:00 a.m. The parties further stipulate that time may be excluded from the

 5   Speedy Trial Act calculation from and including the date of December 12, 2013, the date

 6   currently set for the Status Conference, to and including January 9, 2014, the new Status

 7   Conference date, pursuant to 18 U.S.C. §3161 (h)(7)(A) and (B)(iv) and Local Code T4 in order

 8   to give Counsel for the Defendants reasonable time to prepare. The parties stipulate that the ends

 9   of justice to be served by granting the continuance outweigh the best interests of the public and

10   defendants in a speedy trial.

11   IT IS SO STIPULATED.

12
     DATED:         December 12, 2013                      BENJAMIN B. WAGNER
13                                                         United States Attorney
14
                                                           /s/ Kyle Reardon
15                                                         by Jan David Karowsky w/
                                                           Mr. Reardon’s approval
16                                                by
                                                           Kyle Reardon
17                                                         Assistant U.S. Attorney

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19   DATED:         December 12, 2013                      JAN DAVID KAROWSKY
                                                           Attorney at Law
20
                                                           A Professional Corporation
21
                                                           /s/ Jan David Karowsky
22
                                                  by
23                                                         JAN DAVID KAROWSKY
                                                           Attorney for Defendant
24                                                         Eric Johnston

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 1                                                   ORDER
 2
             Based on the stipulation of the parties and good cause appearing therefrom, the Court
 3

 4   hereby finds that the failure to grant a continuance of the date now set for a Status Conference in

 5   this case would deny respective counsel for both parties reasonable time necessary for effective

 6   preparation, taking into account the exercise of due diligence. The Court specifically finds that

 7   the ends of justice served by the granting of such a continuance outweigh the interests of the
 8   public and the defendant in a speedy trial and that the time within which the trial of this matter
 9
     must be commenced under the Speedy Trial Act is excluded during the time period from and
10
     including December 12, 2013, through and including January 9, 2014, pursuant to 18
11
     U.S.C.§3161(h)(7)(A)&(B)(iv) [reasonable time to prepare] and Local Code T4.
12
             Based on these findings and pursuant to the stipulation of the parties, the Court hereby
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     adopts the stipulation of the parties in its entirety as its order.
14

15           IT IS SO ORDERED.

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     Dated: December 12, 2013
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